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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN

   UNITED STATES OF AMERICA,           )
                                       )     Case No. 2:16-CR-20439-001
          Plaintiff,                   )
                                       )     HON. MATTHEW F. LEITMAN
   v.                                  )     U.S. DISTRICT JUDGE
                                       )
   CYNTHIA ELIZABETH FLOWERS,          )
                                       )
                          Defendant.   )


          DEFENDANT CYNTHIA FLOWERS’ SENTENCING MEMORANDUM

          Defendant Cynthia Flowers, by and through undersigned counsel, submits

   this Sentencing Memorandum, and asks this Court to fashion an appropriate

   probationary sentence, based upon the following facts.

                            The Redemption of Cynthia Flowers:
                       A Devoted Woman of Faith & Community Servant

          This is the case of Cynthia Elizabeth Flowers. Ms. Flowers is a forty-six-year

   old, divorced woman. A life-long Michigander, Ms. Flowers owns her own business.

   She attended Wayne State University for three years, studying business

   administration. She has no criminal history before the events of this case. She has

   never used drugs or consumed alcohol.         She has pled guilty to “Structuring

   Transactions to Evade Reporting Requirements,” in violation of 31 U.S.C. § 5324.

   (See Plea Agreement; PSR at ¶14.) But a departure sentence of probation is

   warranted here, as Ms. Flowers has (1) accepted responsibility for her actions, (2)

   took out loans and sold her possessions to pay back $131,000 of the money owed to

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   the church, and (3) will never do anything like this again.

          Like many of us, Cynthia is a God-fearing, yet flawed, citizen. On January 30,

   2015, Ms. Flowers divorced from what was as an abusive marriage. The experience

   left her “wrecked”; the abusive relationship lowered her self-esteem and confidence.

   As a direct result, she engaged in the wrongful behavior that brings her before this

   Court. But Ms. Flowers’ history shows this crime to be an outlier of a life built upon

   faith, family, and community service. She has paid back much of the money she

   took from the church, and vows to have it all repaid by March of next year.

          Cynthia Flowers’ life is best reviewed through the lens of those who know her

   best. Several witnesses have submitted their accounts of Ms. Flowers’ virtues for this

   Court’s consideration. Among the submissions is her pastor, Reverend Marvin

   Winans. (Ex. 1 – Letter from Pastor M. Winans to U.S. Dist. J. Leitman of

   10/03/2016.) Pastor Winans has known Cindy Flowers “all of her life.” (Id. at ¶2.)

   According to Pastor Winans, Cindy is a long-time and founding member of Pastor

   Winans’ church. (Id.) Pastor Winans has watched Cynthia Flowers serve God for

   over twenty-seven years: “Cynthia was there from the beginning, working and

   sacrificing.” (Id. at ¶3.) According to Pastor Winans, Ms. Flowers “worked untiringly

   throughout the years in every facet of the ministry.” (Id. at ¶3.) Indeed, Pastor

   Winans is “very disappointed” in what Ms. Flowers has done to the Church (Id at

   ¶4.)—but he still believes in Ms. Flowers. The Pastor wants this Court to know that



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   Ms. Flowers is still a member of his church, “has shown great remorse,” accepted

   responsibility for her crime, and “has yet to forgive herself for what she did and the

   pain she caused.” (Id. at ¶5.)

          Judge Donald Coleman also believes in Cindy’s capacity for citizenship,

   selflessness, and service. (Ex. 2 – Letter from Judge D. Coleman of 08/31/2016.)

   Like Pastor Winans, Judge Coleman has known Ms. Flowers “for many years.” (Id.)

   The Judge remarked that Ms. Flowers “is deeply committed to improving the plight of

   underserved populations in various communities[,]” such as “poverty, illiteracy,

   conflict resolution, youth violence and a host of other social ills.” (Id. at ¶1.)   The

   Judge knows Cindy Flowers to be an “unselfish and uniquely committed,”

   “outstanding lady.” (Id. at ¶2-3.)

          Assistant Pastor Jacqueline D. Ray shares Judge Coleman’s account of Ms.

   Flowers as a dedicated, redeemable woman of faith. (Ex. 3 – Letter from J. Ray to

   U.S. Dist. J. Leitman of 10/01/2016 [“In the several years I’ve known Cindy, I’ve

   found her to be a woman of integrity, strength, virtue, and compassion; a true woman

   of God.”].) Assistant Pastor Ray asks this Court to consider “the sincerity of my

   heart.” (Id. at 2, ¶1.)     Assistant Pastor Ray believes that Ms. Flowers is a

   salvageable citizen: “[Ms. Flowers] has expressed great devastation yet has

   repented; according to the [W]ord of God, she can be restored.” (Id. at 2, ¶2.)

          Likewise, Pastor Cordell Jenkins of Abundant Life Ministries shares Assistant



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   Pastor Ray’s view of Ms. Flowers’ potential for restoration. (Ex. 4 – Letter from

   Pastor C. Jenkins to U.S. Dist. J. Leitman of 10/01/2016.) Pastor Jenkins has found

   Ms. Flowers “to be deeply committed and serious about her relationship with Christ.”

   (Id. at ¶2.) Moreover, the Pastor remarked, “Cynthia’s motivation is serving others;

   whether people in her community, her family or workplace, she exudes a true

   servant’s heart.” (Id. at ¶3.) The Pastor describes Ms. Flowers to be “incredibly

   remorseful” for what she’s done (Id. at ¶4). He asks this Court to exert “judgment

   with mercy” in this case. (Id. at ¶5.) Others have written in support of Ms. Flowers.

   (Exhs. 5-8.) The thread binding these accounts submitted reveal a flawed, but

   faithful woman, one that will not ruin a second chance to be a positive community

   contributor. Each individual writing this Court on Ms. Flowers’ behalf is a community

   stakeholder. Each one is confident that Ms. Flowers will lead a law-abiding life,

   dedicated to others.

          Immediately, Ms. Flowers took responsibility for what she’d done and made

   amends for the harm she caused. Ms. Flowers cooperated with the government at

   each phase of this case. Since her arrest, Ms. Flowers has apologized to her

   church—and paid back money she embezzled from her church. (Ex. 9.)               Ms.

   Flowers knows that she disappointed those who trusted her the most. She is deeply

   ashamed of what she done. (Presentence Report (“PSR”) at ¶14 [“I feel horrible for

   my offense. I am very ashamed, regretful and I am very sorry for my actions.”].) Ms.



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   Flowers has accepted responsibility for her crime; she reached an agreement with

   the Government to plead guilty to “Structuring Transactions to Evade Reporting

   Requirements,” in violation of 31 U.S.C. § 5324. (See Plea Agreement; PSR at ¶14.)

   She is receiving counseling for her transgressions. With God’s help, and community

   controls, she vows to “never do this or anything like this again.”

                  A Fair, Individualized Sentence for Cynthia Flowers

          Sentences must be substantively and procedurally reasonable. United States

   v. Sullins, 529 F. App’x 584, 588 (6th Cir. 2013)(citing United States v. Gall, 552 U.S.

   38, 51 (2007)); Kimbrough v. United States, 552 U.S. 85 (2007)(3553(a)’s

   overarching instruction to impose a sentence sufficient, but not greater than

   necessary to accomplish the sentencing goals). Pepper v. United States, 131 S. Ct.

   1229 (2001)(individualized sentence as a 3553 policy goal). “In appropriate cases…

   a district court may conclude that the criminal history category overstates the

   severity of the defendant’s criminal history or that a lower sentence would still

   comply and serve the mandates of section 3553. United States v. Martin, 438 F.3d

   621, 641 (6th Cir. 2006)(“a district court may look beneath the specific criminal

   history score and advisory guideline calculation to reach the appropriate sentence”);

   United States v. Davis, 537 F.3d 611, 616-17 (6th Cir. 2006)(district courts may

   consider relevant sentencing factors found outside of the Guidelines, post Booker).

                    Cynthia Flowers & The 18 U.S.C. §3553(a) Factors



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          Respectfully, a lenient, probationary sentence is warranted under §3553(a)

   for several reasons.     First, the Sixth Circuit has recognized that payment of

   restitution can be evidence of remorse and a factor that can justify a lesser sentence.

   See, e.g., United States v. DeMonte, 25 F.3d 343, 346 (6th Cir. 1994) ("we have

   acknowledged     that   restitutionary   payments     may    constitute    'exceptional

   circumstances' that justify a downward departure" (citing United States v. Brewer,

   899 F.2d 503, 509 (6th Cir. 1990)); United States v. Kim, 364 F.3d 1235, 1238 (11th

   Cir. 2004) (“we hold extraordinary restitution, whether paid before or after

   adjudication of guilt, may… support a departure from the Guidelines….”) Here, Ms.

   Flowers has paid Perfecting Church back $131,000 of the money she embezzled

   from the Church, on her own—even though restitution is not required or sought here.

   While the PSR noted that the Church does not wish to be a victim in this case, Ms.

   Flowers worked hard to pay the money back—because she knows it’s the right (and

   only) thing to do. See Richard A. Posner, Optimal Sentences for White-Collar

   Criminals, 17 AM. CRIM. L. REV. 409, 410, 418 (1980)(arguing that monetary penalties

   best punish white-collar criminality versus imprisonment).

          Second, the views and observations of those who have written letters on Ms.

   Flowers’s behalf provide the Court with the “history and characteristics of the

   defendant,” that Congress has determined to be a central consideration for courts in

   imposing sentence.” 18 U.S.C. § 3553(a)(1). Ms. Flowers asks that the Court



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   consider them in its determination of what sort of sentence is needed “to provide just

   punishment for the offense,” 18 U.S.C. § 3553(a)(2)(A), and needed “to protect the

   public from further crimes of the defendant.” § 3553(a)(2)(C). Taken together, the

   observations show that a period of probation would be just punishment for Ms.

   Flowers.

           Finally, the likelihood for recidivism is low—to non-existent—for Cindy

   Flowers. Ms. Flowers’s age, gender, and lack of criminal history provide the Court

   with assurance that there is no need to incarcerate her to protect the public. See

   United States Sentencing Commission, Recidivism: Criminal History Computation of

   the Federal Sentencing Guidelines (2004)(showing that those in Ms. Flowers’ gender

   and age group have an especially low recidivism rates)1; see also United States v.

   Carmona-Rodriguez, 2005 WL 840464, *5 (S.D.N.Y. 2005) (observing that those

   defendants “over the age of 40 . . . exhibit markedly lower rates of recidivism in

   comparison to younger defendants.). Further, United States Sentencing

   Commission’s studies show that offenders with no arrest records, like Ms. Flowers,

   have an even lower rate of recidivism. Thus people like Ms. Flowers are “the most

   empirically identifiable group of federal offenders who are least likely to offend.”




   1
             The    Sentencing    Commission’s      report    on     recidivism   is    available    at:
   http://www.ussc.gov/Research_and_Statistics/Research_Publications/2004/200405_Recidivism_Criminal_H
   istory.pdf.


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   United States Sentencing Commission, Recidivism and the “First Offender”, May

   2004 17.2 She is a good candidate for leniency.

           The indicia of remorse and rehabilitation Ms. Flowers’ upbringing and

   character reflect the social mores embedded in our constitutional culture. The

   evidence shows that Ms. Flowers’ identity is wrapped in her commitment to exercise

   her Christian faith. From the very beginning, she assisted the Government in its

   investigation of this case, without counsel. She completely and wholeheartedly

   cooperated with the Agents She shoulders the stigma of stealing from the community

   that nurtured her, believed in her, and invested in her. Yet every week, and every

   Sunday, she faces that community, to serve that community. By all accounts, Ms.

   Flowers is a hard-worker humbled by her transgressions. That humbling, alone, is

   severe punishment. The Court’s leniency will not be wasted on Cynthia Flowers.

                                           CONCLUSION

                           “Blessed is the man whom God corrects….”
                                                     —THE BIBLE, JOB 5:17

                 “The sense of justice is continuous with the love of mankind.”
                                                           —JOHN RAWLS

           Sentencing courts aim to treat defendants as individuals. See Koon v. United

   States, 518 U.S. 81, 113 (1996) (“It has been uniform and constant in the federal


   2        The Report is available at:
   http://www.ussc.gov/Research_and_Statistics/Research_Publications/2004/200405_Recidivism_First_Offe
   nder.pdf

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   judicial tradition for the sentencing judge to consider every convicted person as an

   individual and every case as a unique study in the human failings that sometimes

   mitigate, sometimes magnify, the crime and the punishment to ensue.”) Accordingly,

   Ms. Flowers respectfully requests this Court to follow that tradition and impose a

   sentence of probation.

                                            Respectfully submitted,

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                                            ________________________
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on November 8, 2016, I electronically Defendant’s

   Sentencing Memorandum with the Clerk of the Court, using the CM/ECF system,

   which will send notification of such filing to the following:

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                                                 /s/ Allison Folmar
                                                 ________________________
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